            Case 3:15-cr-00360-BEN                      Document 115               Filed 02/09/16             PageID.530         Page 1 of 4
     ~o 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                                                                                                                                FILED
                 Sheet 1




                                              UNITED STATES DISTRICT Co                                                 CLERk US DISTRICT COURT
                                                                                                                      OUTHERN 01 TRICr OF CALIFORNIA
                                                                                                                     BY                      DEPUTY
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                            BETH CAMPBELL (3)                                      Case Number: 15CR0360-BEN
                                                                                    HOLLY S. HANOVER
                                                                                   Defendant's Attorney
    REGISTRATION NO. 21314081

    D
    THE DEFENDANT:
    181 pleaded guilty to count(s)_1_3_0_F_T_H_E_IND_I_C_T_M_E_N_T_._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D      was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not gUilty.
            Accordingly, lbe defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                               Count
    Title & Section                          Nature of Offense                                                                              Numberfsl
21 USC 331(a), 333(a)(2)              AIDING AND ABETTING OF SALES OF MISBRANDED DEVICES                                                          13
and 18 USC 2




        The defendant is sentenced as provided in pages 2 through _ _",4_ _ ofthis judgment. The sentence is imposed pursuant
 to lbe Sentencing Reform Act of 1984.
 D The defendant has been found not gUilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 181 Count(s) REMAINING                                                              is Dare       181 dismissed on the motion ofthe United States.
 181 Assessment: $\00.00.

 181 Fine waived                                    D    Forfeiture pursuant to order filed _--'-_ _ _ _ _ _ _ , included herein.
         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change ofnaroe, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                               15CR0360-BEN
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AD 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
              Sheet 2 -- Probation
                                                                                                               Judgment Page        2    of   _--,4"-_ _
DEFENDANT: BETH CAMPBELL (3)
CASE NUMBER: 15CR0360-BEN
                                                                   PROBATION
The defendant is hereby sentenced to probation for a term of:
 THREE (3) YEARS.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         --

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future sub stance abuse. (Check, if applicab Ie.)

       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a}(7} and 3583(d}.
       The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)

D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.



                                                                                                                                         15CR0360-BEN
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       AO 245B (CASD) (Rev. 12111 Judgment in a Criminal Case
                  Sheet 3 - Special Conditions
                                                                                                         Judgment Page _ _3_ of   _....::4,-__
       DEFENDANT: BETH CAMPBELL (3)                                                                II
       CASE NUMBER: 15CR0360-BEN




                                             SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
    a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant te
    this condition.

~ Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property owned, directly or indirectly,
    including any interest held or owned under any other name, or entity, including a trust, partnership or corporation.
] Not transport, harbor, or assist undocumented aliens.
] Not associate with undocumented aliens or alien smugglers.
] Not reenter the United States illegally.
] Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
]   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
] Not possess any narcotic drug or controlled substance without a lawful medical prescription.
] Not associate with known users of, smugglers of, or dealers in narcot,ics, controlled substances, or dangerous drugs in any form.
~ Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interesl
    obtained under any other name, or entity, including a trust, partnership or corporation until the fme or
    restitution is paid in full.



]   Talce no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
~ Provide complete disclosure of personal and business fmaneial records to the probation officer as requested.
~ Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
  probation officer.
]   Seek and maintain full time employment andlor schooling or a combination of both.
]   Resolve all outstanding warrants within               days.
~ Complete 100 hours of community service in a program approved by the probation officer within the first two years of supervision.
]   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

]   Participate in a program of drug or alcohol abuse treatroent, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of informatiou between the probation officer and the treatment provider. Is required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                   15CR0360-BEl'
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AO 245S      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                     Judgment - Page _ _4,-_ of         4
DEFENDANT: BETH CAMPBELL (3)
CASE NUMBER: 15CR0360-BEN

                                                           RESTITUTION

The defendant shall pay restitution in the amount of _ _ _ _$_6,_1_85_._00_ _ _ _ unto the United States of America.




          This sum shall be paid         __ immediately.
                                          " as follows:
           Forthwith or at the rate of not less than $200.00 per month commencing within thirty (30) days of 2/1/2016. Restitntion
           shall be paid to the following victims on a pro rata basis:

           FDA                                                            $3,495.00
           201 AVENIDA FABRlCANTE
           SUITE 200
           SAN CLEMENTE, CA 92672

           RICHARD BLACK                                                  $1,395.00
           15-1065 MIDDLE ROAD
           PAHOA, HI 98778

           TERRIE SWANN                                                   $1,295.00
           1752 EASTE MONTE CRISTO AVE.
           PHOENIX, AZ 85022

           Until restitntion has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's Office
           of any change in the defendant's mailing or residence address, no later than fifteen (15) days after the change occurs.




        The Court has determined that the defendant      does        have the ability to pay interest. It is ordered that:

    "        The interest requirement is waived.

             The interest is modified as follows:




                                                                                                    15CR0360-BEN
